Case 2:04-cr-20299-BBD Document 53 Filed 06/30/05 Page 1 of 2 Page|D 69

Fll.ED B‘r’ _._, _,___ D.C.
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DIS'TRICT OF TENNESSEE

WESTERN I)IVISOIN 05 JUN 30 p" 3: l5
THOW=S lt GOULD
UNITED sTATES oF AMERICA, CLEPJ< US DSTE. TOOUHT
Wm@lr: |F“,I ziil.`.fvép‘l"{lls
Plaintiff,
vs. Case No. 04cr20299-D
DONNLE JoHNsoN
Defendant.

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.
It now appears that the defendant has complied with the requirements of said bond and orders of
this Court.

IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the Sum of $1,000.00.,

payable to Savannah Halliburton at 2945 Mimosa Ave., #lO, Memphis, TN 38112 in full refund of the

meant/n

BE!RNICE B. DoNALD
United States District Judge

cash appearance bond posted herein.

 

Approved.

THOMAS M. GOULD, Clerk of Court
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BY:

Deputy Clerk

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 53 in
case 2:04-CR-20299 Was distributed by faX, mail, or direct printing on
June 30, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

